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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                         RESPONDENT


v.                              Criminal No. 4:11-cr-40037-020
                                    Civil No. 4:13-cv-4102


ALVIN WEEKLY                                                                          MOVANT



                                            ORDER

       Movant, a defendant in this criminal matter, confined in the Memphis Federal Correctional

Inistitution, Memphis, Tennessee, has filed a Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody. ECF No. 1275. He now files his Motion to

Supplement (ECF No. 1311), seeking to supplement the argument in his original Motion. The Court

has reviewed this Motion to Supplement and will consider the arguments raised therein when

addressing the Motion to Vacate.

       IT IS THEREFORE ORDERED the Motion to Supplement (ECF No. 1311) is

GRANTED. The Motion to Supplement filed herein will be considered by the Court. Movant is

not required to file any formal supplement. The Government, if it wishes, may respond to this

supplemental argument within twenty (20) days of the date of this Order, but is not required to do

so.

       ENTERED this 3rd day of April 2014.


                                                      /s/ Barry A. Bryant
                                                     HON. BARRY A. BRYANT
                                                     UNITED STATES MAGISTRATE JUDGE
